Case 4:20-cv-00467-SDJ-CAN Document 51-2 Filed 02/22/22 Page 1 of 21 PageID #: 594




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

                                                )
  THE TRANSPARENCY PROJECT,                     )
                                                )
         Plaintiff,                             )
                                                )
                 v.                             )       Civil Action No. 4:20-cv-467
                                                )
  UNITED STATES DEPARTMENT OF                   )
  JUSTICE, et al.,                              )
                                                )
         Defendants.                            )
                                                )

                               DECLARATION OF KARA CAIN

         Pursuant to 28 U.S.C. § 1746, I, Kara Cain, declare the following to be a true and correct

  statement of facts:

         1.      I am an Attorney-Advisor with the Freedom of Information Act/Privacy Act

  (“FOIA/PA”) staff of the Executive Office for United States Attorneys (“EOUSA”), United

  States Department of Justice (“DOJ”). In my capacity as Attorney-Advisor, I act as a liaison with

  other divisions of DOJ in responding to requests and litigation filed under both FOIA, 5 U.S.C. §

  552, and the Privacy Act of 1972, 5 U.S.C. §552a. I also review FOIA/PA requests for access to

  records located in this office and the 94 districts of the United States Attorney’s Offices

  (“USAOs”) and the case files arising therefrom, review correspondence related to requests,

  review searches conducted in response to requests, and prepare EOUSA responses to ensure

  compliance with FOIA/PA regulations, 28 C.F.R. §§ 16.3 et. seq. and §§ 16.40 et seq., and 5

  U.S.C. § 552 and 5 U.S.C. § 552a.

         2.      Due to the nature of my official duties as Attorney-Advisor, I am familiar with the

  procedures followed by this office in responding to the FOIA requests made to EOUSA by
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  Plaintiff, The Transparency Project. Additionally, I have reviewed the complaint which this

  Declaration addresses. I prepare this Declaration in connection with Defendant’s Motion for

  Summary Judgment.

         3.      The purpose of this Declaration is to provide the Court with information regarding

  EOUSA’s efforts to respond to Plaintiff’s FOIA requests. This Declaration consists of: (i)

  relevant correspondence related to Plaintiff’s FOIA requests and EOUSA’s response thereto, and

  (ii) information supporting the Vaughn Index for documents responsive to Plaintiff’s FOIA

  requests, but partially withheld from disclosure pursuant to FOIA Exemption 6, 5 U.S.C. §

  552(b)(6), (b)(7)(C) and in accordance with Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973),

  cert denied, 415 U.S. 977 (1974). Exhibit A.

         4.      The statements contained in this Declaration are based upon my personal

  knowledge, information provided to me in my official capacity as an Attorney-Advisor, and

  conclusions and determinations reached and made in accordance therewith.

                                 ADMINISTRATIVE HISTORY

         5.      EOUSA, along with five separate DOJ components, received a FOIA request

  dated October 26, 2018 from Plaintiff seeking documents, files, records, and communications

  regarding the following individuals: Imran Awan, Abid Awan, Jamal Awan, Hina Alvi, Rao,

  Abbas, and Seth Rich. EOUSA acknowledged receipt of the request and assigned it request

  number EOUSA-2019-000496. Exhibit B.

         6.      The Plaintiff did not provide authorization of release from any of the individuals

  outlined in the request. Absent certification which would authorize release of third-party

  information, EOUSA directed the United States Attorney’s Office for the District of Columbia




                                                  2
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  (“USAO-DC”) to conduct a search for public records responsive to plaintiff’s request on

  November 2, 2018.

         7.        EOUSA Policy dictates that if a requester obtains the written authorization and

  consent of the third parties for release of records, the requester may submit a new request for the

  documents accompanied with the written authorization. EOUSA never received such

  authorization.

         8.        EOUSA submitted a second search request for EOUSA-2019-000496 to USAO-

  DC on August 14, 2020.

         9.        On April 16, 2021, USAO-DC provided EOUSA FOIA/PA Office with public

  records responsive to the request.

         10.       EOUSA provided its final response for EOUSA-2019-000496 on June 25, 2021.

  The final disposition consisted of eight pages released in full and ten pages released in part.

  Exhibit C.

         11.       EOUSA was made aware of a second FOIA request dated June 11, 2020, via this

  litigation. The request was submitted as a follow-up request. EOUSA assigned the request

  number EOUSA-2020-004715. The request sought the records that the Federal Bureau of

  Investigation (“FBI”) provided to Judicial Watch in Judicial Watch v. Department of Justice

  1:18-cv-02563.

         12.       Since any records provided in response to Judicial Watch v. Department of

  Justice would have been released by FBI, it was determined that the request was under the

  purview of the FBI. A Misdirected Request Letter was submitted to the requester on January 12,

  2021, and the request was subsequently closed. Exhibit D.




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                                             ADEQUACY OF THE SEARCH

           13.      An agency must make “a good faith effort to conduct a search for the requested

  records, using methods which can be reasonably expected to produce the information

  requested.” 1 The fundamental question is not “whether there might exist any other documents

  possibly responsive to the request, but rather whether the search for those documents was

  adequate.” 2

           14.      Request EOUSA-2019-000496 sought information regarding the U.S. House of

  Representatives investigation into Imran Awan, Abid Awan, Jamal Awan, Hina Alvi, Rao,

  Abbas, and Seth Rich. Any records pertaining to a criminal investigation of said individuals,

  would be maintained by USAO-DC since the prosecution took place in the District of Columbia.

  Each USAO maintains the case files for criminal matters prosecuted by that office. USAO-DC is

  the only office likely to have responsive records.

           15.      Cases are opened, updated, and saved under the name of the defendant. Any

  associated records or matters would be located upon a search of a defendant’s name. Any co-

  defendants would be added under the case management feature of the database. In the electronic

  case folder, each co-defendant would have their own sub-folder with associated records.




  1
    Nation Magazine v. U.S. Customs Serv., 71 F.3d 885, 890 (D.C. Cir. 1995) (quoting Oglesby v. U.S. Dep’t of the
  Army, 920 f.2d 57, 68 (D.C. Cir 1990)); see e.g., Stalcup v. CIA, 768 F3rd 65, 74 (1st Cir. 2014) (noting that resolution
  of search claim “turns on whether the agency made a good faith, reasonable effort ‘using methods which can be
  reasonably expected to produce the information requested’” (quoting Oglesby ,920 F.2d at 68)).
  2
    Steinberg v. DOJ, 23 F.3d 548, 551 (D.C. Cir 1994) (quoting Weisberg v. DOJ, 745 F.2d 1476, 1485 (D.C. Cir. 1984));
  see Citizens Comm’n on Human Rights, 45 F3rd at 1328 (same); Nation Magazine, 71 F.3d 892 n.7 (explaining that
  “there is no requirement that any agency [locate] all responsive documents”); Ethyl Corp. v. EPA, 25 F.3d 1241,
  1246 (4th Cir. 1994) (“In judging the adequacy of an agency search for documents the relevant question is not
  whether every single potentially responsive document has been unearthed.”); In re Wade , 969 F. 2d 241, 249 n.11
  (7th Cir. 1992) (declaring that the issue is not whether other documents might exist, but whether the search was
  adequate);


                                                             4
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          16.      The USAO-DC FOIA contact organized a search for records responsive to

  Plaintiff’s FOIA request.

          17.      The search was initiated by reviewing the online case management system using

  the names and subject matter provided in the original request.

          18.      The online tracking system utilized by the USAOs is CaseView. The CaseView

  database is used to track cases and retrieve files related to cases and investigations by

   using district court case numbers, defendants’ name, and the internal number assigned by

   each USAO.

          19.      After a search of CaseView, on April 16, 2021, USAO-DC provided EOUSA

   FOIA/PA Office with unsealed, public records responsive to the request.

          EOUSA’S JUSTIFICATION FOR NON-DISCLOSURE UNDER THE FOIA
                      EXEMPTION 5 U.S.C. § 552(b)(6), (b)(7)(C)

          20.      Plaintiff requested criminal records concerning third parties. To the extent

   that non-public responsive records exist, without consent, proof of death, or an overriding

   public interest, disclosure of law enforcement records concerning an individual could

   reasonably be expected to constitute an unwarranted invasion of personal privacy. See

   5 U.S.C. § 552(b)(6) & (b)(7)(C). Because any non-public records responsive to the request

   would be categorically exempt from disclosure, this Office is not required to conduct a

   search for non-public records. In this case, instead of a complete third-party denial of

   records under Exemptions (b)(6) and (b)(7)(C), public records were searched and provided

   to Plaintiff.

          21.      Exemption 6 protects from disclosure of records related to “personnel and

   medical files and similar files” the disclosure of which would constitute a clearly




                                                    5
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   unwarranted invasion of personal privacy. The term “similar files” is broadly construed to

   include “[g]overnment records on an individual which can be identified as applying to that

   individual.” U.S. Dep’t of State v. Wash. Post Co., 456 U.S. 595, 602 (1982); Lepelletier v.

   Fed. Deposit Ins.Corp., 164 F.3d 37, 47 (D.C. Cir. 1999). In assessing the applicability of

   Exemption 6, courts weight the “privacy interest in non-disclosure against the public

   interest in the release of the records in order to determine whether, on balance, the

   disclosure would [cause] a clearly unwarranted invasion of personal privacy.” Lepelletier,

   164 F.3d at 46; Chang v. Dep’t of Navy, 314 F. Supp. 2d 35, 43 (D.D.C. 2004). Plaintiff

   bears the burden of establishing that disclosure will advance the public interest. Nat’l

   Archives & Records Admin. v. Favish, 541 U.S. 157, 158 (2004). “[T]he only relevant

   public interest in the FOIA balancing analysis [is] the extent to which disclosure of the

   information sought would ‘she[d] light on an agency’s performance of its statutory duties or

   otherwise let citizens know ‘what their government is up to.”’ Lepelletier, 164 F.3d at 47;

   Beck v. Dep’t of Justice, 997 F.2d 1489, 1492 (D.C. Cir. 1993). “Information that ‘reveals

   little or nothing about an agency’s own conduct’ does not further the statutory purposes.”

         22.     In this instance the information being protected from public disclosure

   consists of third-party names, personal email addresses, and DOJ employee names. Such

   information provides more insight into said third parties than government activities. There

   has been no showing of public interest in the records requested.

         23.     Similarly, Exemption 7(C) protects from disclosure “records or information

   compiled for law enforcement purposes” to the extent that production of the law

   enforcement records or information “could reasonably be expected to constitute an

   unwarranted invasion of personal privacy.” 5 U.S.C. § 552(b)(7)(C). Law enforcement,



                                                   6
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   within the meaning of FOIA Exemption 7, includes enforcement pursuant to both civil and

   criminal statutes. See, e.g., Tax Analysts v. Internal Revenue Service, 294 F.3rd 71, 76-77

   (D.C. Cir. 2002).

         24.     In applying Exemption 7(C), the court “balance[s] the privacy interests that

   would be compromised by disclosure against the public interest in release of the requested

   information.” Davis v. U.S. Dep’t of Justice, 968 F.2d 1276, 1281 (D.C. Cir. 1992). Courts

   recognize that there is considerable stigma inherent in being associated with law

   enforcement proceedings, and accordingly “do [ ] not require a balance tilted emphatically

   in favor of disclosure” when reviewing 7(C) exemption claims. Bast v. Dep’t of Justice,

   665 F.2d 1251, 1254 (D.C. Cir.1981).

         25.     For purposes of both Exemptions 6 and 7(C), the information that is being

   withheld consists of third-party information, and DOJ employee names.

         26.     Public identification of government personnel involved in criminal

   investigations could subject them to harassment both in the conduct of their official duties

   and their private lives. Similarly, individuals- whether targets, suspects, or witnesses- have

   a strong interest in not being unfairly associated publicly with alleged criminal activity. The

   mention of a private individual’s name in a law enforcement file engenders comment and

   speculation and could produce an unfair stigma which could expose the individual to

   harassment or criticism. In the underlying matter in particular, several measures were taken

   by the court to seal pleadings to protect third parties, and to prevent harassment of the

   associated families.

         27.     These individuals also have a substantial privacy interest in avoiding

   disclosure of their personal information in the requested documents. For purposes of both


                                                   7
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   Exemption 6 and 7(C), the release of personally identifiable information could subject the

   users to an unwarranted invasion of their personal privacy by leading to efforts to contact

   them directly, gain access to their personal information, or subject them to harassment or

   harm. There is no countervailing public interest that warrants the release of an individual’s

   personally identifiable information, and its dissemination would not help explain the

   government’s activities or operations. The need to protect an individual’s privacy rights far

   outweighs any public need for the disclosure of the users’ personally identifiable

   information. A release of records via FOIA, is not just a release to Plaintiff, but

   constructively to the world. Even a diminished privacy interest would outweigh the absence

   of any cognizable public interest identified by Plaintiff.

         28.     The information protected under Exemptions 6 and 7(C) is described in the

   Vaughn Index, attached hereto as Exhibit A.

                                         SEGREGABILITY

         29.     All information withheld was exempt from disclosure pursuant to an applicable

   FOIA exemption. After EOUSA considered the segregability of the requested records, no

   reasonably segregable non-exempt information was withheld from Plaintiff.

         Pursuant to 28 U.S.C. § 1746, I declare under the penalty of perjury that the foregoing is

  true and correct, to the best of my knowledge and belief.

         Executed this 7th day of February, 2022.




                                                Kara Cain
                                                Attorney-Advisor
                                                Executive Office for United States Attorneys
                                                Freedom of Information/Privacy Act Staff


                                                    8
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                        Exhibit A
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                                          U.S. Department of Justice

                                                                Executive Office for United States Attorneys



   Freedom of Information and Privacy Staff                      Suite 5.400, 3CON Building           (202) 252-6020
                                                                175 N Street, NE                  FAX (202) 252-6048
                                                                Washington, DC 20530




   The Transparency Project v. Department of Justice et al.,
   Docket No. 4:20-cv-467
   Vaughn Index

   Legend
   WIF- Withhold in Full
   RIF- Release in Full
   RIP- Release in Part


     Page Number              Description of Record         Disclosure                Comments
          1-8                   U.S. v. Imran Awan             RIF
                                 Criminal Judgment
                             United States District Court
                                District of Columbia
           9-18                Unsealed Affidavit in          RIP            Third party names, email
                                Support of Criminal          (B)(6),           addresses, and DOJ
                             Complaint Charging Imran       (B)(7)(C)       employee names redacted.
                                        Awan
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                         Exhibit B
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                             THE TRANSPARENCY PROJECT
                                            P.O. Box 20753
                                       Brooklyn, New York 11202
                                            (979) 985-5289


      October 26, 2018


      Office of the Attorney General               Office of Legislative Affairs
      U.S. Department of Justice                   U.S. Department of Justice
      950 Pennsylvania Avenue, N.W.                950 Pennsylvania Avenue, N.W.
      Washington, DC 20530-0001                    Washington, DC 20530-0001

      National Security Division                   Executive Office for U.S. Attorneys
      U.S. Department of Justice                   U.S. Department of Justice
      950 Pennsylvania Avenue, N.W.                950 Pennsylvania Avenue, N.W.
      Washington, DC 20530-0001                    Washington, DC 20530-0001

      Criminal Division                            Federal Bureau of Investigation
      U.S. Department of Justice                   935 Pennsylvania Avenue, NW
      950 Pennsylvania Avenue, N.W.                Washington, D.C. 20535-0001
      Washington, DC 20530-0001

      Via electronic submission

      To Whom It May Concern:

              In 2017, the inspector general for the U.S. House of Representatives began
      investigating Imran Awan, Abid Awan, Jamal Awan, Hina Alvi, and Rao Abbas
      regarding mishandling of computer systems and electronic equiment. See, e.g., Jenna
      Lifhits, “The IT guy and Wasserman Schultz,” June 15, 2018, The Weekly Standard,
      https://www.weeklystandard.com/jenna-lifhits/the-strange-case-of-debbie-wasserman-
      schulzs-it-guy. On behalf of The Transparency Project, and as permitted by the Freedom
      of Information Act, I request the following information from the respective entities to
      whom this letter is addressed:

          1. Documents, files, records, and communications (regardless of electronic, paper or
             other format) referencing Imran Awan.

          2. Documents, files, records, and communications (regardless of electronic, paper or
             other format) referencing Abid Awan.

          3. Documents, files, records, and communications (regardless of electronic, paper or
             other format) referencing Jamal Awan.

          4. Documents, files, records, and communications (regardless of electronic, paper or
             other format) referencing Hina Alvi.
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          5. Documents, files, records, and communications (regardless of electronic, paper or
             other format) referencing Rao Abbas.

          6. From the National Security Division only, I request documents, files, records, and
             communications (regardless of electronic, paper or other format) referencing Seth
             Conrad Rich or “Seth Rich,” who is deceased.

      Each of the numbered items above should be considered a separate request.

              The Transparency Project is a nonprofit Texas corporation and intends to use all
      of the information requested above to educate the public about government misconduct,
      therefore I request a waiver of any fees. If charges will apply, please let me know the
      approximate amount of such charges in advance. I can be reached by email at
      tyclevenger@yahoo.com if you need additional information.

             Sincerely,



             Ty Clevenger
             Executive Director
             The Transparency Project
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                         Exhibit C
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                                                                    U.S. Department of Justice

                                                                    Executive Office for United States Attorneys



   Freedom of Information and Privacy Staff                          Suite 5.400, 3CON Building          (202) 252-6020
                                                                    175 N Street, NE                 FAX (202) 252-6048
                                                                    Washington, DC 20530


                                                                    June 25, 2021

   VIA Email: tyclevenger@yahoo.com
   Ty Clevenger
   The Transparency Project
   P.O. Box 20753
   Brooklyn, NY 11202

   Re: Request Number                         EOUSA-2019-000496
   Date of Receipt:                           October 26, 2018
   Subject of Request:                        Imran Awan (Public)


   Dear Mr. Clevenger:

           Your request for records under the Freedom of Information Act/Privacy Act has been
   processed. This letter constitutes a reply from the Executive Office for United States Attorneys,
   the official record-keeper for all records located in this office and the various United States
   Attorneys’ Office.

           To provide you with the greatest degree of access authorized by the Freedom of
   Information Act and the Privacy Act, we have considered your request in light of the provisions
   of both statutes.

           The records you seek are located in a Privacy Act system of records that, in accordance
   with regulations promulgated by the Attorney General, is exempt from the access provisions of
   the Privacy Act. 28 CFR § 16.81. We have also processed your request under the Freedom of
   Information Act and are making all records required to be released, or considered appropriate for
   release as a matter of discretion, available to you.

             Enclosed please find:

      8 page(s) are being released in full (RIF);
     10 page(s) are being released in part (RIP);
      0 page(s) are withheld in full (WIF). The redacted/withheld documents were reviewed
   to determine if any information could be segregated for release.

          The exemption(s) cited for withholding records or portions of records are marked below.
   An enclosure to this letter explains the exemptions in more detail.

             (b)(6)                (b)(7)(C)
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           This is the final action on this above-numbered request. If you are not satisfied with
   EOUSA’s response to this request, you may administratively appeal by writing to the Director,
   Office of Information Policy (OIP), United States Department of Justice, Sixth Floor, 441 G
   Street, NW, Washington, DC 20530, or you may submit an appeal through OIP's FOIA STAR
   portal by creating an account following the instructions on OIP’s website:
   https://www.justice.gov/oip/submit-and-track-request-or-appeal.. Your appeal must be
   postmarked or electronically transmitted within ninety (90) days of the date of my response to
   your request. If you submit your appeal by mail, both the letter and the envelope should be
   clearly marked “Freedom of Information Act Appeal.”


           You may contact our FOIA Public Liaison at the telephone number listed above for any
   further assistance and to discuss any aspect of your request. Additionally, you may contact the
   Office of Government Information Services (OGIS) at the National Archives and Records
   Administration to inquire about the FOIA mediation services they offer. The contact information
   for OGIS is as follows: Office of Government Information Services, National Archives and
   Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001; e-mail
   at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-
   741-5769.



                                                              Sincerely,


                                                              Kevin Krebs
                                                              Assistant Director

   Enclosure(s)




                                                                             Form No. 021nofee – 12/15
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                                                     EXPLANATION OF EXEMPTIONS

          FOIA: TITLE 5, UNITED STATES CODE, SECTION 552

(b) (1)          (A) specifically authorized under criteria established by and Executive order to be kept secret in the in the interest of national
                 defense or foreign policy and (B) are in fact properly classified pursuant to such Executive order;

(b)(2)           related solely to the internal personnel rules and practices of an agency;

(b)(3)           specifically exempted from disclosure by statute (other than section 552b of this title), provided that such statute (A) requires that
                 the matters be withheld from the public in such a manner as to leave no discretion on the issue, or (B) establishes particular
                 criteria for withholding or refers to particular types of matters to be withheld;

(b)(4)           trade secrets and commercial or financial information obtained from a person and privileged or confidential;

(b)(5)           inter-agency or intra-agency memorandums or letters which would not be available by law to a party other than an agency in
                 litigation with the agency;

(b)(6)           personnel and medical files and similar files the disclosure of which would constitute a clearly unwarranted invasion of personal
                 privacy;

(b)(7)           records or information compiled for law enforcement purposes, but only the extent that the production of such law enforcement
                 records or information (A) could reasonably be expected to interfere with enforcement proceedings, (B) would deprive a person
                 of a right to a fair trial or an impartial adjudication, (C) could reasonably be expected to constitute an unwarranted invasion of
                 personal privacy, (D) could reasonably be expected to disclose the identity of a confidential source, (E) would disclose
                 techniques and procedures for law enforcement investigations or prosecutions, or would disclose guidelines for law enforcement
                 investigations or prosecutions if such disclosure could reasonably be expected to risk circumvention of the law, or (F) could
                 reasonably be expected to endanger the life or physical safety of any individual.

(b)(8)           contained in or related to examination, operating, or condition reports prepared by, on behalf of, or for the use of an agency
                 responsible for the regulation or supervision of financial institutions; or

(b)(9)           geological and geophysical information and data, including maps, concerning wells.

          PRIVACY ACT: TITLE 5, UNITED STATES CODE, SECTION 552a

(d)(5)           information complied in reasonable anticipation of a civil action proceeding;

(j)(2)           material reporting investigative efforts pertaining to the enforcement of criminal law including efforts to prevent, control, or
                 reduce crime or apprehend criminals;

(k)(1)           information which is currently and properly classified pursuant to Executive Order 12356 in the interest of the national defense or
                 foreign policy, for example, information involving intelligence sources or methods;

(k)(2)           investigatory material complied for law enforcement purposes, other than criminal, which did not result in loss of a right, benefit
                 or privilege under Federal programs, or which would identify a source who furnished information pursuant to a promise that
                 his/her identity would be held in confidence;

(k)(3)           material maintained in connection with providing protective services to the President of the United States or any other individual
                 pursuant to the authority of Title 18, United States Code, Section 3056;

(k)(4)           required by statute to be maintained and used solely as statistical records;

(k)(5)           investigatory material compiled solely for the purpose of determining suitability eligibility, or qualification for Federal civilian
                 employment or for access to classified information, the disclosure of which would reveal the identity of the person who furnished
                 information pursuant to a promise that his identity would be held in confidence;

(k)(6)           testing or examination material used to determine individual qualifications for appointment or promotion in Federal Government
                 service the release of which would compromise the testing or examination process;

(k)(7)           material used to determine potential for promotion in the armed services, the disclosure of which would reveal the identity of the
                 person who furnished the material pursuant to a promise that his identity would be held in confidence.



                                                                                                                                             FBI/DOJ
          1/06
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                         Exhibit D
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                                                           U.S. Department of Justice

                                                           Executive Office for United States Attorneys



   Freedom of Information and Privacy Staff                Suite 5.400, 3CON Building           (202) 252-6020
                                                           175 N Street, NE                 FAX (202) 252-6048
                                                           Washington, DC 20530




                                                           January 12, 2021


   Ty Clevenger
   The Transparency Project
   P.O. Box 20753
   Brooklyn, NY 11202
   tyclevenger@yahoo.com

   Re:                  Request No. EOUSA-2020-004715
   Subject:             Records Provided to Judicial Watch for Case No. 1:18-cv-02563
   Dear Mr. Clevenger,

            The Executive Office for United States Attorneys (EOUSA) has received your Freedom
   of Information Act and/or Privacy Act request dated June 11, 2020. The EOUSA is the official
   record keeper for all records located in this office and the various United States Attorney’s
   offices.

           You requested information which is not information maintained by the EOUSA or by the
   individual United States Attorney’s Offices, but is maintained by the Federal Bureau of
   Investigation. We have forwarded your request to them. Please contact them directly at the
   following address:

             Michael Seidel, Chief
             Record/Information Dissemination Section
             Records Management Division
             Federal Bureau of Investigation
             Department of Justice
             170 Marcel Drive
             Winchester, VA 22602-4843
             Phone: (540) 868-4500
             Fax: (540) 868-4997
             Online Request Form: https://efoia.fbi.gov

          This is the final action on this above-numbered request. If you are not satisfied with the
   Executive Office for U.S. Attorneys’ determination in response to this request, you may
   administratively appeal by writing to the Director, Office of Information Policy (OIP), United
   States Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may
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   submit an appeal through OIP's FOIA STAR portal by creating an account following the
   instructions on OIP’s website: https://www.justice.gov/oip/submit-and-track-request-or-appeal.
   Your appeal must be postmarked or electronically transmitted within 90 days of the date of my
   response to your request. If you submit your appeal by mail, both the letter and the envelope
   should be clearly marked "Freedom of Information Act Appeal.”

          You may contact our FOIA Public Liaison at the Executive Office for United States
   Attorneys (EOUSA) for any further assistance and to discuss any aspect of your request. The
   contact information for EOUSA is 175 N Street, NE, Suite 5.400, Washington, DC 20530;
   telephone at 202-252-6020; or facsimile 202-252-6048. Additionally, you may contact the
   Office of Government Information Services (OGIS) at the National Archives and Records
   Administration to inquire about the FOIA mediation services they offer. The contact information
   for OGIS is as follows: Office of Government Information Services, National Archives and
   Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001; e-mail
   at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-
   741-5769.

                                                              Sincerely,


                                                              Kevin Krebs
                                                              Assistant Director




                                                                                   Form No. 042A - 12/15
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                                          U.S. Department of Justice

                                                                   Executive Office for United States Attorneys



   Freedom of Information and Privacy Staff                         Suite 5.400, 3CON Building           (202) 252-6020
                                                                   175 N Street, NE                  FAX (202) 252-6048
                                                                   Washington, DC 20530




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   Legend
   WIF- Withhold in Full
   RIF- Release in Full
   RIP- Release in Part


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                                  Imran Awan
